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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

DARYOUSH TAHA,                                        :
                                                      :
                              Plaintiff,              :
                                                      :      CIVIL ACTION NO. 12-6867
               v.                                     :
                                                      :      CLASS ACTION
BUCKS COUNTY, et al.,                                 :
                                                      :
                              Defendants.             :

                        SECOND AMENDED NOTICE OF APPEAL

       Notice is hereby given that the County of Bucks and the Bucks County Correctional

Facility (collectively, “the County”), defendants in this action, hereby appeal to the United States

Court of Appeals for the Third Circuit from: (1) the amended judgment entered on November

20, 2019 (ECF No. 374); (2) the October 4, 2019 Order and Opinion denying the County’s

Renewed Motion for Judgment as a Matter of Law, or for a New Trial, and the County’s Motion

for Remittitur (ECF Nos. 369 and 370); and (3) the judgment entered on July 2, 2019 (ECF No.

350), including any interim orders or judgments adverse to the County that may have affected the

July 2, 2019 judgment, the October 4, 2019 Order and Opinion, and the November 20, 2019

amended judgment, such as (but not limited to) the February 21, 2014 Order and Opinion

denying the County’s Motion to Dismiss the Second Amended Complaint (ECF Nos. 64 and 65),

the March 28, 2016 Order and Opinion granting Plaintiff’s Motion for Partial Summary

Judgment and denying the County’s Motion for Summary Judgment (ECF Nos. 146 and 147),

the April 12, 2016 Order denying the County’s Motion for Reconsideration (ECF No. 151), the

February 14, 2019 Order and Opinion denying the County’s Motion for Summary Judgment

(ECF Nos. 267 and 268), the April 29, 2019 Order and Opinion granting in part and denying in

part the County’s Motion to Strike the Expert Report and Preclude Testimony of Sarah Lageson,


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and denying the County’s Motion to Strike the Expert Report and Preclude Testimony of Richard

Subia (ECF Nos. 283 and 284), and the May 17, 2019 Orders granting Plaintiff’s motions in

limine and denying the County’s motions in limine (ECF Nos. 319–327, 331, 332). The appeal

has been previously docketed in the United States Court of Appeals for the Third Circuit at 19-

2761.



                                                      Respectfully submitted,


  Date: December 19, 2019                             /s/ Frank A. Chernak
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                                                      and the Bucks County Correctional Facility




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                                  CERTIFICATE OF SERVICE

          I, Frank A. Chernak, hereby certify that on the 19th day of December, 2019, a true and

correct copy of the foregoing Second Amended Notice of Appeal has been filed electronically

and is available for viewing and downloading from the ECF system. I further certify that I

caused a true and correct copy of same to be served upon the following counsel via electronic

filing:

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Date: December 19, 2019                               /s/ Frank A. Chernak
                                                      Frank A. Chernak
